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EXHIBIT M
Case 3:09-cv-05191-CRB Document127-13 Filed 01/21/11 Page2of4

Brenner, Wendy

From: Anna Levine [alevine@dralegal.org]

Sent: Thursday, December 09, 2010 10:10 AM

To: Brenner, Wendy

Subject: RE: Enyart: Proposal for Third Preliminary Injunction
Hi Wendy,

| took forward to your call. Some preliminary thoughts:

To be clear, the proposal is not for Stephanie to use her own computer, but rather a new laptop that she can pre-configure
and will then donate to NCBE. The purpose of this is to avoid issues that may have been caused by interference from
unrelated programs on NCBE's laptop, such as expired antivirus software, for which Stephanie and staff on site at the
examination did not have administrative privileges. However, if there are absolutely no terms different from the second
preliminary injunction to which NCBE will agree, then their might not be much room for discussion.

Although the conveyance may have altered the message a bit, | hope that your second bullet point is encompassed by the
paragraph at the end | added responsive to what | identified as (1). The wording you use in the second bullet point,
however, is fine, and simpler, and we would be happy to use it.

The third bullet point confuses me. If the Ninth Circuit affirms Breyer's preliminary injunction orders, but does so say, mid-
February, Stephanie would have no time to get a preliminary injunction, even though the Ninth Circuit ruling would support
her entitlement to one. Our client cannot agree to a stipulated injunction that potentially waives relief supported by both
the district and appellate court. We can agree to a similar provision, but only if it makes the stipulated injunction go

away in the event that the Ninth Circuit overturns Breyer's preliminary injunction orders, but does not make the injunction
go away if the Ninth Circuit affirms Breyer's orders.

Anna Levine, Staff Attorney
Disability Rights Advocates
2001 Center Street, Third Floor
Berkeley, California 94704-1204

510 665 8644 (Tel)
510 665 8716 (TTY)
510 665 8511 (Fax)

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veeen Original Message-----

From: Brenner, Wendy [mailto:BRENNERWJ@cooley.com]
Sent: Thursday, December 09, 2010 9:26 AM

To: Anna Levine

Subject: RE: Enyart: Proposal for Third Preliminary Injunction

Hi Anna -
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| will call you later today to discuss. | am sure, however, that these terms will not be acceptable to NCBE. NCBE
is not willing to permit Ms. Enyart to use her own computer for the exam for a variety of reasons.

It sounds like Dan tried to convey our position on the stipulated injunction, but that the terms might not have
been communicated precisely. To be clear, NCBE is willing to stipulate to an injunction for the February bar,
provided:

e The injunction requirements are the same as the second preliminary injunction.

e Ms. Enyart will not take the position that this stipulation moots the appeal.

e — The injunction will be contingent on the fact that no ruling is received from the Ninth Circuit prior to the
test date. If the Ninth Circuit rules before the February bar date, then the stipulated injunction goes
away.

Wendy Brenner

Cooley LLP

3175 Hanover Street

Palo Alto, CA 94304-1130

Direct: (650) 843-5371 * Fax: (650) 849-7400

From: Anna Levine [mailto:alevine@dralegal.org]

Sent: Wednesday, December 08, 2010 4:20 PM

To: Brenner, Wendy

Subject: Enyart: Proposal for Third Preliminary Injunction

Dear Wendy,

Thank you for your message this afternoon. As | previously raised at the hearing on NCBE’s motion for
continuance last Friday, and discussed afterwards with Greg, Stephanie would like this third preliminary injunction
to address technological problems that arose at the July and August 2010 test administrations. Attached is a
proposal aimed at addressing those problems.

| understand from Dan Goldstein that NCBE, in turn, would like any stipulated preliminary injunction to include (1)
an agreement that the stipulated injunction will not be used as evidence of their liability and (2) a provision that
their agreement is void if the Ninth Circuit issues a decision before the February test administration.

To address (1), | have inserted a paragraph at the end of the attached document, borrowing from language
that we included, at NCBE's request, in the cover letter filed with the stipulated terms for the second preliminary
injunction order. We would be giad to hear your suggestions regarding (2).

| will be available by telephone all day tomorrow, and look forward to talking with you about this.
Sincerely,

Anna

Anna Levine, Staff Attorney
Disability Rights Advocates

2001 Center Street, Third Floor
Berkeley, California 94704-1204

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